Case 1:24-cv-00648-AA   Document 23-51   Filed 06/20/24   Page 1 of 3




                        EXHIBIT 57
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             Case 1:24-cv-00648-AA                          Mediation Paris April 4-5
                                                          Document       23-51          Filed 06/20/24            Page 2EXHIBIT
                                                                                                                         of 3 57

         Subject: Mediation Paris April 4-5
         From: Arnaud Paris <aparis@sysmicfilms.com> Date:
         03/18/2024, 6:18 p.m. To:
         Heidi Paris <heidimparis@gmail.com>

         Heidi, since you will be in Paris the week of April 1st and you will not have the girls during the day I think it would be a
         good opportunity to try to mediate in the presence of our lawyers here in Paris in order to find a quick solution to this conflict
         in the interest of our children. I therefore asked several mediators here in Paris to offer us one or more meetings.



         Good to you,

         Arnaud




                                                        EXHIBIT 57 - PAGE 1 OF 2
1 of 1                                                                                                                             06/20/2024, 03:09
                                              Mediation Paris Avril 4-5
                  Case 1:24-cv-00648-AA      Document     23-51         Filed 06/20/24   Page 3 of 3

         Subject: Mediation Paris Avril 4-5
         From: Arnaud Paris <aparis@sysmicfilms.com>
         Date: 18/03/2024, 18:18
         To: Heidi Paris <heidimparis@gmail.com>

         Heidi, puisque tu seras presente a Paris la semaine du ler avril et que tu n'auras pas les
         filles pendant la journee je pense que ce serait une bonne opportunite pour essayer de faire
         une mediation en presence de nos avocats ici a Paris afin de trouver une issue rapide ace
         conflit dans l'interet de nos enfants. J'ai done demande a plusieurs mediateurs ici a Paris de
         nous proposer un ou plusieurs rendezvous.
         Bien a toi,
         Arnaud




                                           EXHIBIT 56 - PAGE 2 OF 2
l of l                                                                                            20/06/2024, 03:09
